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MYRIANN OFFICIAL STORE, NO. 19 MASK
STORE, ONETREE STORE, PROFESSIONAL
TOOL CENTER STORE, ROMANTIC ALL HOUSE
STORE, ROMANTIC FULL IN HOME, SAFE LIFE
STORE, SECURITY PROTECT ONLINE STORE,
SHANMAMMY DROPSHIP STORE, SHENZHEN
CLICKS TECHNOLOGY CO., LTD., SHOP1266133
STORE, SHOP4917095 STORE, SHOP5250048
STORE, SHOP5440035 STORE, SHOP5522046
STORE, SHOP5788919 STORE, SHOP910453068
STORE, SIX STARS PRODUCTS STORE,
SMARTLIVES STORE, SNEWVIE LED LIGHTING
YOUR LIFE STORE, SURPRISE LIFE STORE,
SWOVO DIYCRAFT STORE, SZWKY
HOUSEHOLDS STORE, TOOLS DIRECT STORE,
TOP1 PHONE STORE, TOPLEO STORE, TRENDY
CASUAL CLOTHINGS STORE, TT PINK LIFE
STORE, TTMART STORE, WELCOME OVERSEA
STORE, WORTH WATCHING STORE, YIDIAN OF
GRASS STORE. YOCOMYLY 511511 STORE,
YOUR DAILY 3CMART STORE, YOUR
HAPPINESS HOUSE STORE and YOYOHOME
STORE,

                        Defendants.
ANALISA TORRES, District Judge:

        On October 21, 2020, this Court entered a temporary restraining order on Plaintiff’s ex parte
motion (the “TRO”). The Court found that Plaintiff was likely to succeed on its claims of trademark
infringement by Defendants, that continued infringement would cause Plaintiff irreparable harm, and
that the public interest and the balance of equities strongly favored restraining further infringement.
Accordingly, the Court entered the TRO, and, among other things: (1) restrained Defendants from
taking a variety of actions that infringed Plaintiff’s trademark or induced others to do so, (2) directed
third-party web service providers to cease providing service to Defendants within five days, (3)
directed third-party financial institutions to locate and attach Defendants’ financial accounts within
five days, (4) authorized expedited discovery, (5) authorized Plaintiff to delay service on Defendants
until after the third parties had complied with the order, and authorized service by electronic means,
and (6) sealed Plaintiff’s application, its supporting documents, and the order itself until the third
parties had complied. The Court further ordered that Defendants appear on October 27, 2020, at 1:00
p.m., to show cause why a preliminary injunction should not issue.

      The time for the third parties designated in the Court’s order to comply has now passed.
Accordingly, it is ORDERED that:

   (1) By November 6, 2020, Plaintiff shall file with the Court a status letter describing the
       compliance or noncompliance of Defendants and third parties with the Court’s order, and


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      providing proof of service of the TRO on each Defendant (consistent with the methods of
      service outlined in the TRO);

   (2) The hearing scheduled for October 27, 2020, at 1:00 p.m. is ADJOURNED to November 16,
       2020, at 1:00 p.m. By November 11, Defendants shall file any opposing papers. By
       November 13, 2020, Plaintiff shall file any reply;

   (3) Pursuant to Federal Rule of Civil Procedure 65(b)(2), the TRO is extended to November 16,
       2020. Good cause exists for an extension, because adjourning the preliminary injunction
       hearing is necessary to ensure Defendants are afforded adequate notice, and continued
       restraint of Defendants and third parties in the interim period is necessary to protect Plaintiff’s
       rights against the irreparable harms demonstrated in their TRO application.

   (4) By October 29, 2020, Plaintiff shall serve this order on Defendants using the same methods
       authorized by the TRO. By October 30, 2020, Plaintiff shall provide the Court with proof of
       service.

      SO ORDERED.

Dated: October 27, 2020
       New York, New York




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